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                                  In The United States District Court
                                  FOR The Eastern District of Virginia
                                          Alexandria Division



   THOMAS CIENIEWICZ


              Plaintifi
                                                                         Civil Action No: 1:22cvl72
   V.



   GHAFOURPOUR,DDS,ET AL.,

              Defend^ts.


                               j?gv/5g</AGREED PROTECTIVE ORDER


        The Plaintiff and Defendants (collectively, the "Parties") agree that disclosure and discovery

 activity in this action are likely to involve production of confidential, proprietary, medical, business

 financial or privah; information for which special protection from public disclosure and from use for

 any purpose other than prosecuting this litigation may be warranted. The Parties request that this

 Court enter this A ^reed Protective Order and, thereby, ORDER,ADJUDGE and DECREE that:


         1.        A      Party may mark and designate any confidential material with the word

"CONFIDENTIAL". Any material, including tangible and intangible confidential infomiation, that

 are designated as "CONFIDENTIAL" are sometimes referred to in this Order as "Protected

 Material."


        2.         The designation of confidential documents shall be made by placing or affixing on

 each page of the material, in a manner that will not interfere with its legibility, the word

"CONFIDENTIA                If only a portion or portions of the material on a page qualifies for protection,

 the designating Pe rty also must clearly identify the protected portion(s). A Party or Non-Party that

 makes original d ocuments or materials available for inspection need not designate them for
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 protection until after the inspecting Party has indicated which material it would like copied and

 produced. After the inspecting Party has identified the documents it wants copied and produced, the

 producing Party ir.ust determine which documents, or portions thereof, qualify for protection under

 this Order and affix the "CONFIDENTIAL" legend to each page that contains Protected Material.

          3.    Th<; designation of testimony given in deposition, pretrial or trial proceedings as

"CONFIDENTIAL" shall be made on the record before the close of the deposition or proceeding.

          4.    Th(; designation of infomiation produced in some fonn other than documentary and

 for any other tangiible items, shall be made by affixing the legend"CONFIDENTIAL"in a prominent

 place on the exteriior of the container or containers in which the information or item is stored.

          5.    Th(; Parties agree that they will be judicious and reasonable in designating materials

 as"CONFIDENTIAL" under this Order.

          6.    If timely corrected, an inadvertent failure to designate qualified information or items

 as confidential docs not, standing alone, waive the designating Party's right to secure protection for

 such material under this Order. Upon timely coiTection of a designation, the receiving Party must

 make reasonable efforts to assure that the material is treated in accordance with the provisions ofthis

 Order.


                The Parties recognize that, during the course of this action, there may be produced

 Protected Materia, or confidential infonnation originating from a non-Party to which there exists an


 obligation of confidentiality. Information originating from a Non-Party that a designating Party

 reasonably and in good faith believes is subject to a confidentiality obligation may be designated as

 "CONFIDENTIA          and shall be subject to the restrictions on disclosure specified in this Agreed

 Protective Order.
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        8.      Any Party may challenge a designation ofconfidentiality at any time. Unless a prompt

 challenge to a designating Party's confidentiality designation is necessary to avoid foreseeable,

 substantial unfairness, unnecessary economic burdens, or a significant disruption or delay of the

 litigation, a Party jloes not waive its right to challenge a confidentiality designation by electing not
 to mount a challenge promptly after the original designation is disclosed.

        9.      If any Party disagrees with any designation made under this Order, that Party shall

 bring it to the attention of the designating Party within a reasonable time after discovering their

 disagreement. To challenge the designation of material as"CONFIDENTIAL,"the challenging Party

 must provide the designating Party with written notice of the challenging Party's objection and

 describe the basis for the objection. The Parties shall timely meet and confer to attempt to resolve


 the objections without court intervention. The meet and confer requirement may be satisfied through

 electronic mail, or any other means the parties deem sufficient. If the Parties cannot resolve a

 challenge without court intervention, the designating Party may file and serve a motion to retain

 confidentiality, or equivalent motion, with the Court within fifteen (15) days after such notice.

 During this fifteer (15)day period the challenging party shall treat the document(s) as confidential.

 If the designating Party files such a motion within the fifteen (15) days period, the receiving Party

 shall continue to retain the materials as CONFIDENTIAL, consistent with the designating Party's

 designation, until the Court has ruled on the designating Party's motion.

         10.    A receiving Party may use Protected Material that is disclosed or produced by a Party

 or by a Non-Party in connection with this case only for prosecuting, defending, or attempting to settle

 this litigation. Pro tected Material may be disclosed only to the categories of persons and under the

 conditions describ ed in this Order.
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           11.    Protected
                      I
                            Material,
                                   '
                                      and the information and contents thereof, and confidential
                      i


information may bje disclosed only to the following persons (hereinafter referred to as "Qualified
Persons"):            !


          a.      The Parties and their respective employees and agents to whom disclosure is

          reasonably necessary for this litigation;

          b.      Counsel of record for the Parties and employees of such counsel who are materially

          assisting in the preparation or trial of this action and to whom disclosure is reasonably

          necessary for this litigation;
                      1

          c.      Experts and consultants retained by a Party to serve as an expert or consultant and to

          whom disclosure is reasonably necessary for this litigation;

          d.      The Court and its employees and staff;

          e.      Court reporters and videographers, to whom disclosure is reasonably necessary for

          this litigation;

          f.      During their depositions, witnesses in the action to whom disclosure is reasonably

          necessary; and

                  Any person mutually agreed upon in writing by all Parties.

          12.     Ifa receiving Party learns that it has inadvertently disclosed Protected Material to any

 person or in any circumstance not authorized under this Agreed Protective Order,the receiving Party

 must immediately (a) notify in writing the designating Party of the unauthorized disclosures,(b) use

 its best efforts to promptly retrieve all unauthorized copies of the Protected Material,(c)infonn the

 person or persons to whom unauthorized disclosures were made of the temis and protections of this


 Order.
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         13.    Inac vertent production of documents subject to work product inuiiunity or the attorney-

client privilege shall not constitute a waiver of the immunity or privilege. The producing Party must

 promptly notify the receiving Party in writing via electronic mail of the inadvertent production. The

inadvertently produced Protected Material shall be promptly returned to the producing Party.

         14.    In no event shall Protected Material or confidential information be disclosed or made

 available to competitors of any Party or to any other person, corporation or entity who, upon

reasonable and good faith inquiry, could be determined to be employees of or consultants for a

competitor of any Party.

         15.     Protected Material shall be used solely and exclusively for the purpose of tliis litigation

 and under no circumstances may Protected Material be used in any other action or for any purposes

 unrelated to this litigation. Protected Material shall not be used, shown, disseminated, copied, or in any

 way communicated, transferred or disclosed, orally or by any other means, to anyone for any purpose

 whatsoever, other than as required for the preparation and trial ofthis action.

         16.     Before being given access to any Protected Material, each Qualified Person (other than

 the Court and its stsiff and employees)shall be advised of the tenns of this Order, shall be given a copy

 oftliis Order, and shall indicate their agreement to abide by the temis ofthis Order.

         17.     Other than the Court and its employees and staff, any copy of Protected Material

 distributed to a Qua iified Person shall be returned to counsel for the producing Party or destroyed witliin

 sixty(60)days after he temiination ofthis action. Such Qualified Person shall, upon the request ofcounsel

 or the Court,execute an affidavit stating that all such documents and copies ofsuch documents have been

 returned or destroyed as required.

         18.     Tlie provisions oftliis Order shall continue to be binding after the final disposition ofthis

 action. This Order is and shall be deemed to be an enforceable agreement between the Parties and their
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agents and the temis of this Order may be enforced by specific perfomiance in any court of competent

jurisdiction.

        19.     To tilie extent that exhibit lists are filed in any deposition or proceeding in this case,

the Parties shall, at the appropriate time, address the use and protection of Protected Material at trial.

        20.     This Order shall be binding upon tlie Parties, counsel for the Parties, and upon the Parties

and their attorneys' successors, executors, personal representatives, administrators, heirs, legal

representatives, assigns, subsidiaries, divisions, employees, agents, independent contractors, and other

 persons or organizat ions over which they have control.

        21.     This Order does not constitute a waiver of any Party's right to object to the discovery or


 admissibility ofany material on any ground.

        22.     Not ling in this Order abridges the right of any Party to seek its modification by the


 Court in the future.


        23.     In the event counsel for any party determines that it is necessary to file any

 confidential document with the Court in support of a pleading, motion, brief, or other paper or

 exhibit, or to make reference to such material or information, the confidential information shall be

 redacted. Alternatiyely, a motion to seal such documents shall be filed pursuant to the Federal Rules


 of Civil Procedure and the Local Rules of the Eastern District of Virginia. If the Court denies the


 motion to seal, the party may file the document notwithstanding the provisions of this Order.

         24.    The Parties will abide by Local Civil Rule 5.


         The Clerk IS hereby directed to send a certified copy ofthis Order, as entered, to all counsel


 of record herein.
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                                     ENTERED: 27th         jay of September ^2022.

                                       /s/ Ivan D. Davis
                                                           Judge


 SEEN AND AGREED


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 SEEN AND AGREED:


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